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 8                               UNITED STATES DISTRICT COURT
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                               EASTERN DISTRICT OF CALIFORNIA
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                                           FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
13    ROZWADOWSKI and DIANA WOLFE,                       Case No. 1:09-cv-00430-AWI-EPG
      individually and on behalf of themselves and all
14    others similarly situated,
                                                         CLASS ACTION
                                       Plaintiffs,
15
      v.
                                                         ORDER GRANTING PLAINTIFFS’
16                                                       REQUEST TO SEAL DOCUMENT AND
      DAIRYAMERICA, INC., and CALIFORNIA                 FILE REDACTED VERSION
17    DAIRIES, INC.
                               Defendants
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     Case 1:09-cv-00430-AWI-EPG Document 244 Filed 02/24/16 Page 2 of 2



 1             IT IS HEREBY ORDERED:

 2             This matter comes before the Court on the Plaintiffs’ Request to Seal Document and File

 3    Redacted Version (“Request”) pursuant to Civil Local Rules 140 and 141.

 4             Upon consideration of the Request, the papers submitted in support and in opposition

 5    thereto, and good cause appearing, the Request is GRANTED.

 6             Accordingly, Plaintiffs are permitted to file a redacted version of Plaintiffs’ Third

 7    Amended Class Action Complaint on the public docket and Plaintiffs will email the unredacted

 8    version of the document to ApprovedSealed@caed.uscourts.gov for filing under seal. Only the

 9    parties’ counsel of record and the Court and its staff shall have access to the unredacted document.

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      IT IS SO ORDERED.
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12    Dated:    February 24, 2016
                                                       SENIOR DISTRICT JUDGE
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      [1:09-cv-00430-AWI-EPG] [PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENT AND FILE REDACTED
      VERSION                                                                                                    1
